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               IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF OHIO

JAHMIR CHRISTOPHER FRANK          :
105 EAST MAIN STREET              :
LEESBURG, FLORIDA 34745           :
                                  :
          PLAINTIFF,              :
                                  :   CASE NO. 2:18-CV-992
VS.                               :
                                  :
GOOD SAMARITAN HOSPITAL           :
FOUNDATION OF CINCINNATI,         :
INC.                              :   JUDGE _____________________
C/O DONNA S. NIENABER             :
619 OAK STREET                    :
CINCINNATI, OHIO 45206            :
                                  :   CLASS ACTION ALLEGATIONS AND
AND                               :   JURY DEMAND
                                  :   ENDORSED HEREON
THE GOOD SAMARITAN                :
HOSPITAL OF CINCINNATI, OHIO      :
C/O DONNA S. NIENABER             :
619 OAK STREET                    :
CINCINNATI, OHIO 45206            :
                                  :
AND                               :
                                  :
JOHN DOE PHYSICIANS               :
NUMBERS 1-5                       :
NAMES AND ADDRESSES               :
UNKNOWN TO PLAINTIFF              :
                                  :
AND                               :
                                  :
JOHN DOE CORPORATIONS             :
NUMBERS 1-5                       :
NAMES AND ADDRESSES               :
UNKNOWN TO PLAINTIFF              :
                                  :
AND                               :
                                  :
JOHN DOE EMPLOYEES                :
NUMBERS 1-5                       :
NAMES AND ADDRESSES               :
UNKNOWN TO PLAINTIFF              :
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                                           :
AND                                        :
                                           :
JOHN DOE NURSES                            :
NUMBERS 1-10                               :
NAMES AND ADDRESSES                        :
UNKNOWN TO PLAINTIFF                       :
                                           :
                DEFENDANTS.                :

MEDICAL MALPRACTICE COMPLAINT WITH CLASS ALLEGATIONS FOR
        NEGLIGENT DESTRUCTION OF MEDICAL RECORDS

                               A.        INTRODUCTION

   1. This is an action for medical malpractice.         By reason of the negligence of

Defendants Good Samaritan Hospital Foundation, Inc., Good Samaritan Hospital, and

John Doe nurses and physicians (hereinafter “The Good Samaritan Defendants”) during

the delivery of Plaintiff, Jahmir C. Frank, at Good Samaritan Hospital on July 30, 1998,

Mr. Frank now suffers from periventricular leukomalacia, a permanent and debilitating

brain injury.   The birth records of Mr. Frank were destroyed in 2010, due to the

negligence of Defendants Good Samaritan Hospital (hereinafter “GSH”) and its

contractor, Cintas. It was not learned until June 22, 2017, that the birth records had been

destroyed despite Defendants’ actual knowledge of the destruction since 2012. Mr.

Frank’s family requested the records in 2014. It was not until a previous lawsuit ,

voluntarily dismissed without prejudice on June 8,2018, was filed in Hamilton County,

Ohio that Defendants finally admitted Mr. Frank’s birth records had been destroyed due

to the negligence of Cintas Corporation No. 2 , a third party hired by Defendants to store

and, when lawful, destroy medical records.

                                    B.         PARTIES

   2. Plaintiff, Jahmir Christopher Frank, is a citizen of the State of Florida.



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   3. Defendant Good Samaritan Hospital is a professional corporation organized and

existing under the laws of the State of Ohio with its principal place of business in Ohio

and at all times relevant and material to this action employed physicians, nurses, and

other personnel to evaluate, care for and treat patients.

   4. Defendant Good Samaritan Hospital Foundation, Inc is an Ohio nonprofit

corporation with its principal place of business in Ohio. At all times relevant herein, the

acts and omissions performed by employees, servants, or agents of Defendant Good

Samaritan Hospital were within the scope of their express, implied or apparent authority

as agents of Defendant Good Samaritan Hospital.

   5. At all times relevant herein, Defendant John Doe, M.D., was a citizen of the State

of Ohio, duly licensed to practice medicine in the State of Ohio, and held himself out as a

physician as he received and treated patients for consideration.

   6.    Plaintiff states that at all times relevant herein, Defendants John Doe Physicians

Numbers 1-5 were citizens of Ohio, were duly licensed to practice medicine in the State

of Ohio, held themselves out as physicians under the laws of the State of Ohio, or some

other state of the United States of America or some foreign jurisdiction, and that said

Defendants were conducting, and have regularly conducted, business in the State of Ohio.

   7. The true names and capacities of Defendants John Doe Physicians Numbers 1-5

are unknown to Plaintiff at this time, and Plaintiff has, therefore, sued these unknown

Defendants under said fictitious names. When the true names and capacities of said John

Doe Defendants have been discovered, Plaintiff will seek leave to amend this Complaint

accordingly. Plaintiff is informed and believes that Defendants are legally responsible,

negligent, or in some other actionable manner, for the events and occurrences hereinafter




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described and that said Defendants proximately caused injuries and damages to Jahmir C.

Frank.

   8. Plaintiff states that Defendant John Doe Corporations Numbers 1-5 are

professional corporations, incorporated under the laws of the State of Ohio, which

employed physicians, nurses, and other personnel to evaluate, care for, and treat patients

of John Doe Corporations Numbers 1-5, including Jahmir C. Frank.

   9. The true names and capacities of Defendants John Doe Corporations Numbers 1-5

are unknown to Plaintiff at this time, and Plaintiff has, therefore, sued these unknown

Defendants under said fictitious names. When the true names and capacity of said John

Doe Corporations Numbers 1-5 have been discovered, Plaintiff will seek leave to amend

this Complaint accordingly. Plaintiff is informed and believes that Defendants are legally

responsible, negligent, or some other actionable manner, for the events and occurrences

hereinafter described and that said Defendants proximately caused injuries and damages

to Jahmir C. Frank.

   10. The true names and capacities of Defendants John Doe Nurses Numbers 1-10

and/or Employees Numbers 1-5 arc unknown to Plaintiff at this time, however they are

all citizens of States other than Florida. Therefore, Plaintiff has sued these unknown

Defendants under said fictitious names. When the true names and capacities of said John

Doe Nurses Numbers 1-10 and/or Employees Numbers 1-5 have been discovered,

Plaintiff will seek leave to amend this Complaint accordingly. Plaintiff is informed and

believes that Defendants are legally responsible, negligent, or in some other actionable

manner, for the events and occurrences hereinafter described and that said Defendants

proximately caused injuries and damages to the Jahmir C. Frank.




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                                 C.      JURISDICTION

   11. Jurisdiction over this action arises under the provisions of 28 U.S.C. §1332 in that

the citizenship of Plaintiff is diverse from that of all Defendants and the amount in

controversy exclusive of interest and costs exceeds $75,000.00.

                                          D. VENUE

   12. Venue in this action is properly laid in the Southern District of Ohio, Western

Division, for the reason all Defendants are residents of the State of Ohio and the Southern

District of Ohio. In addition the events and omissions giving rise to this action occurred

in the Southern District of Ohio, Western Division..

                                 E. CLASS ALLEGATIONS

   13. Mr. Frank brings this action under Rule 23 of the Federal Rules of Civil

Procedure on behalf of herself and a class (“Class”) and subclass (“Subclass”). The Class

Period commenced on January 1, 1997.

   14. Mr. Frank brings this action under Federal Rule of Civil Procedure 23(b)(1) on

behalf of a class defined as:

       All maternity patients and persons born at Good Samaritan Hospital
       between January 1, 1997 and December 31, 1999.

   15. Mr. Frank also brings this action under Federal Rule of Civil Procedure 23(b)(2)

on behalf of a class defined as set for the in Paragraph 6(b) for the reason adjudication of

the issues raised here will be dispositive of the claims of all persons affected.

   16. Mr. Frank also brings this action under Federal Rule of Civil Procedure 23(b)(3)

on behalf of a class defined as set forth in Paragraph 6(b) for the reason questions of law

common to the class predominate over the claims of individual class members.




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    17. The claims of Mr. Frank are typical of the claims of the Class. Mr. Frank will

fairly and adequately protect the interests of the Class . Mr. Frank has no conflicts with

any other Class Member, and has retained competent counsel experienced in class action

litigation.

    18. Common questions of law and fact exist. Questions of law and fact are common

to the Class and predominate over any questions affecting only individual Class

Members.

    19. Class action treatment is a superior method for the fair efficient adjudication of

the controversy described herein. A class action provides an efficient method whereby

enforcement of the rights of Mr. Frank and defendants can be fairly managed.

                        PLAINTIFF’S FIRST CAUSE OF ACTION

                           Medical Malpractice – All Defendants

    20. Plaintiff incorporates the proceeding paragraphs as if fully restated herein.

    21. Defendant Good Samaritan Hospital, by and through Its employees and/or agents.

fell below the accepted standards of care, skill, and diligence for healthcare providers in

Ohio and other similar communities in the care and treatment of Jahmir C. Frank.

Defendants’ failure to meet the accepted standards of care, skill, and diligence includes,

but is not limited to causing trauma in utero during Jahmir C. Frank’s delivery.

    22. Defendant Good Samaritan Hospital by and through its employees and/or agents,

breached its duty of reasonable care owed to Jahmir C. Frank and Defendant is liable for

the negligent acts and/or omissions of its employees and/or agents. The care and

treatment rendered to Jahmir C. Frank by employees, agents, and servants of Defendant




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fell below the accepted standards of care for physicians, nurses, and other personnel, and

they breached their duties of care owed to Jahmir C. Frank.

   23. Defendant Physician John Doe fell below the accepted standards of care, skill,

and diligence for physicians and healthcare providers in Ohio and other similar

communities in the care and treatment of Jahmir C. Frank. Defendants’ failure to meet

the accepted standards of care, skill, and diligence includes, but is not limited to causing

trauma in utero.

   24. Defendants John Doe Physicians Numbers 1-5 fell below the accepted standards

of care, skill, and diligence for physicians practicing medicine in Hamilton County, Ohio

and other similar communities in the care and treatment of Jahmir C. Frank. Defendants

John Doe Physicians' Numbers 1-5 failure to meet the accepted standards of care, skill,

and diligence includes, but is not limited to causing trauma in utero.

   25. Defendants John Doe Nurses Numbers 1-10 fell below the accepted standards of

care, skill, and diligence for nurses in Hamilton County, Ohio and other similar

communities in the care and treatment of Jahmir C. Frank. Defendants John Doe Nurses

Numbers I-10's failure to meet the accepted standards of care, skill, and diligence

includes, but is not limited to causing trauma in utero.

   26. Defendants John Doe Employees Numbers 1-5 fell below the accepted standards

of care, skill, and diligence for medical provider employees in Hamilton County, Ohio

and other similar communities in the care and treatment of Jahmir C. Frank. Defendants

John Doe Employees Numbers 1-5's failure to meet the accepted standards of care, skill,

and diligence includes, but is not limited to causing trauma in utero.




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   27. Defendants John Doe Corporations Numbers 1-5, by and through its agents and

employees, breached its duty of reasonable care owed to Jahmir C. Frank. Defendants

John Doe Corporations Numbers 1-5 are liable for the negligent acts and omissions of its

employees. The care and treatment rendered to Jahmir C. Frank by employees, agents,

and servants of Defendants John Doe Corporations Numbers 1-5 fell below the accepted

standards of care for physicians. nurses, and other personnel and breached their duties of

care owed to Jahmir C. Frank as referenced above.

   28. As a direct and proximate result of the failure of the Defendants to meet accepted

standards of skill, care, and diligence, Jahmir C. Frank suffered severe physical pain,

mental anguish, lost earning capacity, extreme emotional distress, and loss of enjoyment,

Jahmir C. Frank incurred medical expenses and care expenses.

                     PLAINTIFF’S SECOND CAUSE OF ACTION

      Respondeat Superior – Good Samaritan Hospital and John Doe Corps #1-5

   29. Plaintiff incorporates the proceeding paragraphs as if fully restated herein.

   30. At all times relevant herein. Defendant Good Samaritan Hospital was owned

and/or operated by John Doe Corporations Numbers 1-5.

   31. At all times relevant herein, Defendants John Doe Physicians Numbers 1-5, John

Doe Employees Numbers 1-5, and John Doe Nurses Numbers 1-10 were duly employed

by and/or acting on behalf of their employer Defendants Good Samaritan Hospital and/or

John Doe Corporations Numbers 1-5.

   32. At all times relevant herein, Defendants John Doe Physicians Numbers 1-5, John

Doe Employees Numbers 1-5, and John Doe Nurses Numbers 1-10 acted within the




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scope of their employment with and/or John Doe Corporations Numbers 1-5 while

providing services for Defendants.

    33. By virtue of the doctrine of respondeat superior, Defendants Good Samaritan

Hospital and/or John Doe Corporations Numbers 1-5 are liable for Jahmir C. Frank's

injuries.

    34. By virtue of the doctrine of agency by estoppel. Defendants Good Samaritan

Hospital and/or John Doe Corporations Numbers 1-5 are liable for Jahmir C. Frank's

injuries.

                       PLAINTIFF’S THIRD CAUSE OF ACTION

                                          Negligence

    35. Plaintiff incorporates the proceeding paragraphs as if fully restated herein.

    36. In June of 2008, Tri Health, Inc. on behalf of Good Samaritan Hospital entered

into a document storage and document destruction agreement with Cintas Corporation

No. 2.

    37. Under the terms of this agreement, Cintas was to store, and when notified destroy,

medical records of Good Samaritan patients.

    38. At all times Good Samaritan Hospital was subject under the American Medical

Association Code of Ethics to a nondelegable duty to manage medical records

appropriately.

    39. It is a violation of Ohio law for a physician to violate any provision of the Code of

Ethics of the American Medical Association. R.C. 4731.22(B)(18).




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      The American Medical Association Code of Ethics states with respect to

“MANAGEMENT OF MEDICAL RECORDS”: “PHYSICIANS HAVE AN ETHICAL

OBLIGATION TO MANAGE MEDICAL RECORDS APPROPRIATELY.”

   40. The Code of Medical Ethics Opinion 3.3.1 of the AMA states:

      Medical records serve important patient interests for present health care
      and future needs, as well as insurance, employment, and other purposes.

      In keeping with the professional responsibility to safeguard the
      confidentiality of patients’ personal information, physicians have an ethical
      obligation to manage medical records appropriately.

      This obligation encompasses not only managing the records of current
      patients, but also retaining old records against possible future need, and
      providing copies or transferring records to a third party as requested by the
      patient or the patient’s authorized representative when the physician leaves
      a practice, sells his or her practice, retires, or dies.

      To manage medical records responsibly, physicians (or the individual
      responsible for the practice’s medical records) should:

      (a) Ensure that the practice or institution has and enforces clear policy
      prohibiting access to patients’ medical records by unauthorized staff.

      (b) Use medical considerations to determine how long to keep records,
      retaining information that another physician seeing the patient for the first
      time could reasonably be expected to need or want to know unless
      otherwise required by law, including:

      Immunization records, which should be kept indefinitely
      Records of significant health events or conditions and interventions that
      could be expected to have a bearing on the patient’s future health care
      needs, such as records of chemotherapy

      (c) Make the medical record available:

      1.     As requested or authorized by the patient (or the patient’s
      authorized representative)

      2.      To the succeeding physician or other authorized person when the
      physician discontinues his or her practice (whether through departure, sale
      of the practice, retirement, or death)




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       3.      As otherwise required by law

       (d) Never refuse to transfer the record on request by the patient or the
       patient’s authorized representative, for any reason.

       (e) Charge a reasonable fee (if any) for the cost of transferring the record.

       (f) Appropriately store records not transferred to the patient’s current
       physician.

       (g) Notify the patient about how to access the stored record and for how
       long the record will be available.

       (h) Ensure that records that are to be discarded are destroyed to protect
       confidentiality.

AMA Principles of Medical Ethics: IV, V (emphasis added.)

   41. Defendants have implemented this duty by adopting the following record

retention policy.

       POLICY/PROCEDURE
       Retention:
       TriHeatth will retain the medical records of patients (except maternity arid
       newborn and those under age 11) for a period of ten (10) years. Maternity
       and newborn records will be kept for a period of twenty-one (21) years as
       will records of patients under 11 years of age. Records will be maintained
       in such a manner that their security and integrity are safeguarded, that they
       are reasonably available for authorized users, and that they are retained for
       period of time consistent with the state and federal laws and the standards
       of the health care industry. A patient's medical record may be kept for a
       longer period of time if specifically requested by the patient, the patient's
       physician or attorney, or by the hospital's legal counsel.

       Destruction:
       Declaration of the intent to destroy records will be made public by a notice
       placed in bail newspapers thirty (30) days prior to scheduled destruction
       date. The notice will include instructions to patients on how to request the
       record in writing prior to that date.

       Basic information retained on all records destroyed includes:

               a)     patient name
               b)     medical record number
               c)     dates of admission and discharge



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               d)      attending physician
               e)      record of diagnoses and operations

       Records will be destroyed by a method which prevents any reconstruction,
       such as shredding, incineration, or pulping. The use of a commercial
       record destruction company shall be permitted provided that appropriate
       guarantees of confidentiality are included in the contractual agreement.
       Any such contractor shall complete a certificate of destruction which
       includes the following:

               a)      date of destruction
               b)      method of destruction
               c)      identification of records destroyed
               d)      signature of person supervising the destruction

       All certificates of destruction will be maintained indefinitely in a file in
       the medical record department. Until the lime of destruction, records shall
       be maintained as hard copy, microfilm, optical disk, or computerized form
       as best meets the needs of the hospital. After destruction, persons
       requesting records can be informed that the records have been destroyed.

       DATE INFORMATION
       Effective Data:     October, 1999
       Last Review Date:   July, 1997; September 1999; March, 2002; March,
       2004; September, 2007


   42. Good Samaritan Hospital has known since April 24, 2012, that the birth records

for persons delivered at Good Samaritan during the period 1997-1999, had been

destroyed through negligence. Good Samaritan Hospital has not notified former patients

of the destruction of these records.

   43. Good Samaritan Hospital did not make contact with the patients whose records

were affected because of the sheer volume of records that had been destroyed. The exact

number of records destroyed is unknown, however, on average Good Samaritan Hospital

performs 8,500 to 9,000 deliveries a year.

   44. Here this duty was violated because Cintas, the company selected by Good

Samaritan Hospital to store their medical records, was not instructed by Good Samaritan



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Hospital to separate patient medical records from mom and baby records when the

records were given to Cintas by Good Samaritan Hospital.

   45. Cintas has no record of any instructions it was given by Good Samaritan Hospital

concerning separation of mom and baby records.

   46. Under Ohio law an action for medical malpractice must be brought within one

year after the cause of action accrues. R.C. §2305.113. In case of a minor, such as

Plaintiff, the statute does not begin to run until the minor has reached the age of eighteen

R.C. §2305.16. For this reason the AMA ethical duty to retain old records against

possible future need, using medical consideration, to determine how long to keep records,

creates a duty on physicians in Ohio to keep birth records at least one year following the

statute of limitations for the filing of a medical malpractice action and then an additional

period to provide for the one time voluntary dismissal and refiling of a malpractice action

permitted under Ohio law. Accordingly, Defendants have a duty under Ohio law to retain

birth records for at least the length of time of the statute of limitations for medical

malpractice claims, 21 years in the case of a minor.

   47. Good Samaritan Hospital had a non delgable duty to retain medical records for

the period mandated by American Medical Association standards.

   48. Good Samaritan Hospital had a non delegable duty to cause Cintas to separate

mom and baby records from those of other patients, whose records are not required to be

retained for 21 years.

   49. Here this duty was violated because Cintas, the company selected by Good

Samaritan Hospital to store their medical records, was not instructed by Good Samaritan

Hospital to separate patient medical records from mom and baby records when the




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records were given to Cintas by Good Samaritan Hospital. Cintas was not properly

instructed concerning mandatory disparate treatment of mom and baby records from

patient medical records.

   50. Good Samaritan Hospital violated its duty to Mr. Frank and          thousands of

similarly situated persons by failing to:

       a) Retain birth records for the required 21 year period;

       b) Instruct Cintas to separate mom and baby records from other patient records;

       and

       c) To notify patients of the destruction of mom and baby records for deliveries

       from 1997-1999.

   51. Mr. Frank and others similarly situated have been injured by Good Samaritan

Hospital’s violation of its duty to retain medical records appropriately, to properly

instruct Cintas concerning destruction and separation of records, and to notify patients

whose records were destroyed prematurely.

   52. By reason of Good Samaritan Hospital’s negligence Good Samaritan Hospital is

liable to Plaintiff, and members of the putative class, in compensatory damages, punitive

damages, interest and attorneys fees.

       WHEREFORE, Plaintiff demands the following:

   A) Judgment against Defendants, jointly and severally, in such amounts as will fully

and adequately compensate Plaintiffs for the damages they have suffered, in an amount to

be determined at trial:




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   B) Award Plaintiffs punitive damages against Defendants, jointly and severally, in an

amount to be determined by the jury for Defendants’ failure to advise patients of the

destruction of their records and suppressing information about Mr. Frank’s records;

   C) Award Plaintiff pre-judgment and post-judgment interest;

   D) Award Plaintiff actual expenses of litigation, including reasonable attorney’s fees;

   E) Appoint Plaintiff as class representative;

   F) Appoint Plaintiff’s counsel as counsel for the class; and

   G) Award Plaintiff such other and further relief as the Court deems just and proper.



                                              Respectfully Submitted,



                                              s/Percy Squire, Esq.
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                             DEMAND FOR JURY TRIAL

       Plaintiff is entitled to and hereby demands a jury trial in this matter.


                                      s/Percy Squire, Esq.
                                      Percy Squire, Esq. (0022010)




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